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RYBICKY, JAMES E, (00) (FBI)

From: COMEY, JAMES B. (G0) .(F8I)
Saturday, January 07, 2017 1:42 PM

Sent:

To: MCCABE, ANDREW G. (OO)FBI); BAKER, JAMES A. (OGC) (FBI); RYBICKL JAMES E. (DO)
(FBY)

cc COMEY, JAMES B. (OO) (FBI)

Subject: My notes from private session with PE on 1/6/17 -- “S&ERET7ORCOITNCFORIT

Classification: SER

Classified By: Director
terived From: FBI NSIC dated 20130303

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What follows are notes | typed In the vehicle immediately upon exiting Trump Tower on 1/6/17. Although | wrote
this tess than five minutes after the meeting and have tried to use actual words spoken, including quoting directly In
some places, i have not used quotation marks throughout because my purpose was to capture the substance af what
was said. | am not sure of the proper classification here so have chosen SECRET. Please let me know of it should be

higher or lawer than that.

Notes begin here:

  

material in the main body of the meeting, | mentioned the derog files o

  
 
 

UII) ring my brieting on th

 

 

i said we were doing that.

At ihe conclusion of our session, the COS asked whether there is anything we haven‘! mentioned that they should know
or thal might come oul. | said there was something that Clapper wanted me ta speak to the PE about alone or ina very
small group. COS asked whether the group of COS, VPL, and PE was okay or whether | wanted to-be alone. | told him it
wis up to the PL. who quickly said that he and | would meet alone.

After others lett the roam, we sat al the table. He began by telling me that [ had had one heck of a year but thal | had
rorducted myself hanorably and had a great reputation. He said ! was repeatedly put in impossible positions. He sac
vou saved her and then they hated you for what you did later, but what choice did you have? He said he thought very
tugnly ol ne ang loaked forward to working with me, saying he hoped | planned ta stayan [assured him lintended lo

stay He said Band,

Ubon cxecuton the session exactly ast had planned Ltold him that) wanted to meet with him te tell him oad abana
NANTES ha) is iy the reports wrilten by although | didn’l use that name) I said that the written 1eparts
| A}ic) amselves wer nd the content known at IC senior level and that |

didn’t want him caught catd by some of the detail. | then explained that the

   
 

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Deeivead. Frond. FRINGE;
NSC Deciassification Review [EO 13526]  -SEERET/Ne@FaR Aah poparac fe
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—SEGRETHAANGFERN-

i said, ine Russians allegedly had tapes involving him and prostitutes at the Presidential Suite at the Ritz Cartan in
Moscow from about 2013. He Interjected, “there were no prostitutes; there were never prostitutes,” He then said
something about him being the kind of guy who didn’t need to “go there” and laughed (which | understood to be
communicating that he didn’t need to pay for sex), He said “2013” to himself, as (f trying to remember that period of
time, but didn’t add anything. He sald he always assumed that hotel rooms he stayed in when he travels are wired in
some way, | replied that | do as well,

| said | wasn’t saying tnls was true, only that | wanted him to know both that it had been reported and that the reports
were in many hands. | said media like CNN had them and were looking for a news hook. 5 said it was important that we

ot give them the excuse to write that the Fal has the material’o and that we were keeping it
very close-hold. He said he couldn't believe they hadn’t gone with it. { sald it was inflammatory stuff that they would
get killed for reporting straight up from the source reports.

He then started talking about all the women who had falsely accused him of grabbing or touching them (with particular
mention of a “stripper” who sald he grabbed her) and gave me the sense that he was defending himseif to me. |
responded that we were not Investigating him and the stuff might be totally made up but it was being sald out of Russia
and our job was to protect the President from efforts to coerce him. | said we try to understand what the Russians are
going and what they might do, | added that | also wanted him to know this In case it came out in the media,

He said he was grateful far the conversation, said more nice things about me and how he looks forward to working with

nye and we departed the room.

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{ attended an Oval office homeland threat briefing for the President today. The
meeting was scheduled for 4 pm but was delayed by a priar meeting, which was
apparently related to the ongoing litigation over the immigration executive order.
The AG and Sec DHS were in the earlier meeting and remained in the Oval when my
meuting began, at about 4:15.

There were about a dozen people in the Oval for the homeland session. } sat facing
the President aver the Resolute Desk in a semi-circle of 6 chairs. DD/CIA sat to my
left and D/NCTC to my right. Staff members occupied the couches and chairs behind
me. Tom Bossert perched on the arm of a couch to steer the session. | noticed Jared
Kushner and Stephen-Bannon by face. Mike Dempsey and the VP's NSA were also
there, and two or three others (I think including Reince Pricbus).

At the compltetian of the session, the President thanked everyone and said he
wanted to speak with me alane. The AG lingered momentarily by my chair, but the
President thanked him and said he wanted to meet with Jim. He repeated this at
least one more time to usher people out, Everyone ielt except Jared Kushner, who
stopped by my chair to shake hands and exchange pleasantries, including a few brief
words about the challenges of the email investigation. The President joined in this
brief exchange but then told Mr. Kushner that he wanted to meet with me. That left.
the two of us atone.

He began by saying he wanted to “talk about Mike Flynn.” He then said that,
although Flynn “hadn’t done anything wrong” tn his call with the Russians (a poinc
he made atleast two more times in the conversation), he had to let him go because
he misled the Vice President, whom he described as “a good guy.” He explained that
he just couldn't have Flynn misleading the Vice President and, in any event, he had
other concerns about Flynn, and had a great guy coming in, so he had to let Flynn go.

tle asked me if | had seen Sean Spicer’s press briefing today and | replied that |
hadn't. He said he had done a great job of explaining why they did what they did.

ie then asked if “you saw my Tweet this morning.” and quickly added that “it is
really about the leaks.” He then reviewed in some detail the leaks of his catls with
the leaders of Mexico and Australia, including how the calls had gone, how he
assumed that calls he made on “this beautiful phone [touching the gray phone on the
desk}" were confidential, how it couldn't have come from the Mexicans or
Australians, how the transcripts actually include things he doesn't remember saying
("and they say { have one of the world’s greatest memories”), and that it makes us
look terrible to have these things leaking. He then referred at length to the leaks
rulating to Mike Flyno’s call with the Russians, which he stressed was not wrang in
any way (“he made lots of calls"), but that the leaks were terrible.

L tried to interject several times to agree with him abuut the leaks being terrible, but
was unsuccessful. When he finished, | said | agreed very much that it was terrible
that his calls with foreign leaders leaked. | said they were classified and he needed
tn he able to speak to foreign leaders in confidence. [NOTE: because this is an

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unclassified document, | will be limited in how { describe what ! said next}, | then
explained why leaks purporting to be about FBI intelligence operations were alsn
terrible and a serious violation of the law, [explained that the FBI gathers
iileilipence in part Woe equip the Prusident ly rake decisions, and if people ran
around telling the press what we do, that ability will be compromised. | sald | was
eager to find leakers and wauld tike ta nail one to the door as a message. | said
samething-about it being difficult and he replied that we need to go after the
reparters, and referred to the fact that 10 or 15 years ago we put them in jail to find
out what they know, and it worked. Ile mentioned Judy Miller by name. | explained
that | was 4 fan of pursuing leaks aggressively but that gotng after reporters was
tricky, for legal reasons and because DO] tends to approach it conservatively. He
replied by telling me to talk to “Sessions” and see what we can do about being more
aggressive. | tald him | would speak to the Attorney General.

At about this point, Reince Priebus opened the wall door by the clock and the
President sent him away, saying he would be another minute or two and he knew

people were waiting.

He then returned to the topic of Mike Flynn, saying that Flynn is a good guy, and has
heen through a lot. He misled the Vice President but he didn’t do anything wrong in
the call. He said, “S hope you can see your way clear to letting this go, to Jetting
Flynn go. He is a good guy. { hope you can let this go.” | replied by saying, “I agree
he is a good guy,” but said no more.

The President then wrapped up our conversation by returning to the issue of finding
leakers. [said something about the value of putting a head ona pike as a message.
He replied by saying it may invalve putting reporters In jail. “They spend a couple
days in jail, make a new friend, and they are ready tu talk.” { laughed as I walked to
the door Reince Priebus had opened.

As! walked out the Vice President was standing just outside the door, waiting. We
shook hands. There was a large group with him, including Priebus and the newly
sworn-in Secretary of HHS, Tom Price. | walked through the group and away from
the Oval office, went downstairs, and exited onto the West Executive Drive. On the
way out downstairs, | saw John Kelly gathered with staff. | stopped to grect him and
he told me he has previously accepted an invitation to speak to HRT at Quantico
about leadership and wondered if it was still okay to do it. (sald by all means: that
wauld he grea

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